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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Criminal Action No. 21-cr-365-WJM

UNITED STATES OF AMERICA,

      Plaintiff,

v.

1. ROBERT GLASPER,

      Defendant.


                    GOVERNMENT’S SENTENCING STATEMENT


      The United States of America, by and through the undersigned Assistant United

States Attorney, hereby submits the following sentencing statement with respect to

defendant Robert Glasper. For the reasons that follow, the Government respectfully

requests that the Court sentence the defendant to three years of probation, with the

special conditions outlined in the presentence investigation report.

                                          Facts

      On October 25, 2021, the defendant boarded a flight from Sacramento,

California, to Denver, Colorado. Almost immediately after boarding, the defendant

began repeatedly touching his seatmate (the “Victim”). Although this touching was

unwanted, the Victim froze and did not immediately confront the defendant. Throughout

the flight, the defendant continued touching the Victim on the Victim’s hand, buttocks,

and thigh. Ultimately, the defendant attempted to grab the Victim’s hand and use the

Victim’s hand to touch the defendant’s crotch area. The Victim refused to touch the

defendant’s crotch, after which the defendant drew the Victim’s attention to his (the
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defendant’s) crotch, where the defendant had an erect penis visible beneath his

clothing. The defendant made a hand motion signifying masturbation and, shortly

thereafter, exposed himself on the plane and masturbated to ejaculation in his seat.

The ejaculate was expelled onto the seatback in front of the defendant, and the

defendant’s DNA was recovered from an airline safety card. [ECF #33, ¶¶ 10-17].

       Though the defendant was charged in this matter for the criminal conduct that

occurred on the airplane, the defendant’s inappropriate conduct neither started nor

ended on the plane. While at the airport in Sacramento, for instance, the defendant

approached a woman who worked in the airport (the “Airport Employee”) and asked for

her telephone number. She declined and tried to walk away, but the defendant followed

her, made sexually suggestive comments, and ultimately grabbed her buttocks over her

clothes. The Airport Employee told the defendant, in no uncertain terms, that his

behavior was unacceptable. The defendant nevertheless persisted, moving closer to

the Airport Employee, until she moved away and left the area. These interactions

between the defendant and the Airport Employee were captured on airport surveillance

cameras. [ECF #33, ¶ 19].

       Further, when the defendant first boarded his flight to Denver, he propositioned a

fight attendant, asking her if she wanted to join him in the “mile high club,” a reference

to engaging in sexual activity on the airplane. He also asked to sit with two other female

passengers before retiring to his assigned seat next to the Victim. [ECF #33, ¶ 13].

       After the defendant’s arrest in Denver, he was held for one night at the Denver

Detention Center. The defendant’s Cellmate that night alleged that the defendant

began rubbing his (the Cellmate’s) thighs. The Cellmate moved away from the

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defendant and the defendant began to forcibly pull the Cellmate’s head to the

defendant’s crotch. [ECF #33, ¶ 20].

       Finally, while being transported from the Denver Detention Center to the federal

courthouse for his initial appearance in this matter, the defendant made inappropriate

and sexually suggestive comments to the female FBI agent assisting with the

transportation.

                                   Procedural History

       The defendant was charged by criminal complaint and arrested for his sexual

assault of the Victim on October 27, 2021. [ECF #3]. He was ordered detained on

October 29, 2021, and has been in custody since his arrest. [ECF #10]. The defendant

was indicted on November 3, 2021. [ECF #11]. He pled guilty, pursuant to a plea

agreement, on February 24, 2022, to obscene or indecent exposure, in violation of 49

U.S.C. § 46506(2), and simple assault, in violation of 49 U.S.C. § 46506(1) and 18

U.S.C. § 113(a)(5). [ECF #28].

       Sentencing is scheduled for June 15, 2022. [ECF #32].

                     Application of the 18 U.S.C. § 3553(a) Factors

       In the plea agreement, the parties agreed that a sentence of three years’

probation, with the special conditions outlined in the presentence investigation report.

The Government respectfully requests that the Court impose such a sentence, which

would be sufficient but not greater than necessary given the Section 3553(a) factors in

this case.

       While it is true that the defendant does not have any prior convictions for sexual

misconduct, his criminal history is serious and lengthy, and includes numerous

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allegations of violence, theft, and weapons offenses. And given the defendant’s

unrestrained sexual assault rampage the week of October 25, 2021, it is frankly

remarkable that the instant conviction is his first of a sexual nature. It is also true that

the defendant has led what appears to be a difficult, and troubled, life. No matter the

sentence imposed in this case, the defendant will eventually be released back into the

community. It is the Government’s hope that three years of supervision, including

conditions such as mental health treatment and sex offender treatment, will help ensure

that the defendant’s abhorrent behavior in October 2021 remains an aberration.

       The Probation Office recommends that the defendant’s three years of

supervision start with six months in an RRC, with an allowance that early discharge may

be authorized by the supervising probation officer. [ECF #33-1]. The defendant

contends that this condition will, among other things, “deprive [the defendant] of his

support system once he returns home.” [ECF #36, p. 3]. While the defendant claims he

intends to life with his girlfriend once released, it is not clear that this living situation

provides such a stable support system as to override the sound judgment of the

Probation Office. Among other things, the defendant was living with this girlfriend in

October 2021, when he committed the instant offense; the Probation Office in the

Eastern District of California was unable to make contact with the girlfriend or inspect

her residence and the residence has therefore not even been approved; and the

girlfriend—who the defendant describes as the “angry woman”—has previously

described the defendant as a “runner.” [ECF #33 ¶¶ 41, 46-47]. Accordingly, the

Government supports the Probation Office’s recommendation that the defendant’s term

of supervision begin with an RRC.

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                                       Conclusion

      The Government respectfully requests that the Court sentence the defendant as

agreed in the plea agreement and outlined herein.



      Respectfully submitted this 1st day of June, 2022.


                                        COLE FINEGAN
                                        Acting United States Attorney


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